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 1 Matthew K. Blackburn (SBN 261959)
   MBlackburn@lewisroca.com
 2 Evan E. Boetticher (SBN 274377)
   EBoetticher@lewisroca.com
 3 LEWIS ROCA ROTHGERBER CHRISTIE LLP
   100 Pine Street, Suite 1750
 4 San Francisco, CA 94111
   Tel: 650.391.1380
 5 Fax: 650.391.1395
   Attorneys for Plaintiffs and Counter-
 6    Defendants NANTWORKS, LLC
      and NANT HOLDINGS IP, LLC
 7

 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11 NANTWORKS, LLC, AND
   NANT HOLDINGS IP, LLC,                               CASE NO. 3:20 - cv - 06262 - LB
12
             Plaintiffs and Counter-Defendants,         PLAINTIFFS NANTWORKS, LLC AND
13
        v.                                              NANT HOLDINGS, LLC NOTICE OF
14                                                      APPEAL
   NIANTIC, INC.,
15
             Defendant and Counter-Claimant.
16

17            PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. § 1295(a)(1), Plaintiffs

18 NantWorks, LLC and Nant Holding IP, LLC appeal to the United States Court of Appeals for the

19 Federal Circuit from this Court’s final judgment in this action (ECF No. 340), and from any and

20 all other preceding and subsequent judgments, opinions, decisions, orders, rulings, findings, and

21 conclusions, whether oral or written, that underly, are subsidiary thereto, subsumed therein,

22 intertwined with, or merged thereinto in this case including but not limited to those relating to

23 discovery and other pre-trial matters (e.g., ECF Nos. 35, 87, 96, 105, 135, 149, 285, and 339). This

24 Notice is timely under Federal Rule of Appellate Procedure 4(a)(1)(A), because it was filed within

25 30 days from the entry of the Final Judgment.

26            A payment of $605, representing the $600 docketing fee required by Federal Circuit Rule

27 52(a)(3), and the $5 filing fee specified in 28 U.S.C. § 1917, is provided with this Notice of

28 Appeal, pursuant to Federal Rule Appellate Procedure 3(e) and Federal Circuit Rule 52(a)(2).

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                                                                             CASE NO. 3:20 - cv - 06262 - LB
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                                             Respectfully submitted,
 1

 2 DATED: August 7, 2024                     LEWIS ROCA ROTHGERBER CHRISTIE LLP

 3

 4                                           By:    /s/Matthew K. Blackburn
                                                   Matthew K. Blackburn
 5                                                 Evan E. Boetticher
 6                                           Attorneys for Plaintiffs and Counter-
                                                Defendants NANTWORKS, LLC and
 7                                              NANT HOLDINGS IP, LLC
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     NANTWORKS’S NOTICE OF APPEAL                                       CASE NO. 3:20 - cv - 06262 - LB
